emerpmwuzms, Case 1:08-cr-00208 Document 4 Filed 03/12/2008 Page 1 of 1
United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

Name ofAssi ned .lud ' S'tt' J d `fOth
or Magistgrate Jud§: Martln C Ashman :h;:gAs:iggllee:i Jud;;
CASE NUMBER 08 CR 208 - l DATE 3/12/2008
CASE USA vs. Lorna A. Clarke
TITLE
DOCKET ENTRY TEXT

 

Enter order. Govemment’s motion to Seal complaint and arrest warrant is granted lt is hereby ordered that
the complaint and arrest warrant be Sealed until 4;”12/2008, or until further order of the court

 

 

- [ For further detail see separate order(s)_] D°“keti"g t° man “°““'35~

 

 

Courtroom Deputy IS
Initials:

 

 

 

 

OSCRZUS - l USA vs. Lorna A. Clarke Page l of 1

 

 

